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                                                    USDCSDNY
UNITED STATES DISTRICT COURT                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                       ELECTRONICALLY FILED
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WINKLEVOSS CAPITAL FUND, LLC,                       DATE FILED:
     Plaintiff,                                                   .   11
                                                      18-cv-8250(JSR) ·
             -v-
                                                      ORDER
CHARLES SHREM


     Defendant.
-----------------------------------x
JED S. RAKOFF, U.S.D.J.
                                        '
     The parties in this case have inf~rmed   "
                                            the Court that they

have reached a settlement. Accordingly, the case is hereby

dismissed with prejudice, but with leave to any party to move

within 30 days from the date hereof to reopen the case and

proceed to trial if the settlement is not fully effectuated.

     SO ORDERED

Dated:       New York, NY

             April   S,   • 1
                           2019
                                               '(t;_lY.f:s.                D. J.
